Detail by Entity Name                                                                      https://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail...
                            CASE 0:24-cv-04535-JMB-DTS                            Doc. 10-3               Filed 01/23/25   Page 1 of 2

         Florida Department of State                                                                                             D         C




              Department of State / Division of Corporations / Search Records / Search by Entity Name /




                 Detail by Entity Name
                 Florida Limited Liability Company
                 FUNDERZGROUP LLC
                 Filing Information

                 Document Number                  L22000030669
                 FEI/EIN Number                   XX-XXXXXXX
                 Date Filed                       01/27/2022
                 State                            FL
                 Status                           ACTIVE
                 Last Event                       REINSTATEMENT
                 Event Date Filed                 11/07/2023
                 Principal Address

                 20200 W DIXIE HWY SUITE 1205
                 AVENTURA, FL 33180
                 Mailing Address

                 20200 W DIXIE HWY SUITE 1205
                 AVENTURA, FL 33180
                 Registered Agent Name & Address

                 MICHAEL, KANDKHOROV
                 801 US HIGHWAY 1
                 NORTH PALM BEACH, FL 33408

                 Name Changed: 11/07/2023
                 Authorized Person(s) Detail

                 Name & Address

                 Title AMBR

                 KANDKHOROV, MICHAEL
                 20200 W DIXIE HWY SUITE 1205
                 AVENTURA, FL 33180


                 Annual Reports

                  Report Year           Filed Date
                  2023                  11/07/2023
                  2024                  03/07/2024



                                                                                                                                       3
1 of 2                                                                                                                                          1/23/2025, 3:41 PM
Detail by Entity Name                                                                              https://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail...
                           CASE 0:24-cv-04535-JMB-DTS                                  Doc. 10-3                    Filed 01/23/25   Page 2 of 2
               Document Images

                03/07/2024 -- ANNUAL REPORT               View image in PDF format

                11/07/2023 -- REINSTATEMENT               View image in PDF format

                01/27/2022 -- Florida Limited Liability   View image in PDF format




                                                                     Florida Department of State, Division of Corporations




2 of 2                                                                                                                                                  1/23/2025, 3:41 PM
